326 F.2d 487
    UNITED STATES of Americav.Joseph Louis ROZANC.UNITED STATES of Americav.Carl William THOMAS.UNITED STATES of Americav.Ronald Matthew MEGO.
    No. 14299.
    No. 14300.
    No. 14337.
    United States Court of Appeals Third Circuit.
    Submitted and Argued December 13, 1963.
    Decided January 20, 1964.
    
      Joseph Louis Rozanc, pro se.
      Richard M. Rosenbleeth, Philadelphia, Pa., for appellants.
      W. Wendell Stanton, Asst. U. S. Atty., Pittsburgh, Pa. (Gustave Diamond, U. S. Atty., Pittsburgh, Pa., on the brief), for appellee.
      Before BIGGS, Chief Judge, and McLAUGHLIN and KALODNER, Circuit Judges.
      PER CURIAM.
    
    
      1
      These three appeals may be disposed of adequately in this single brief opinion. The appellants have alleged that they were deprived of their constitutional rights. We think that it is not appropriate to reach that issue at this time in the absence of lawful judgments of sentence. The United States concedes error in that none of the defendants were present in court when each of them was sentenced finally under 18 U.S.C. § 4208 (b). We agree. See United States v. Behrens, U.S., 84 S.Ct. 295 (1963). As to the finality of the judgments of sentence imposed or to be imposed hereafter see Corey v. United States, U.S., 84 S.Ct. 298, and Rule 35, Fed.R.Crim.Proc., 18 U.S.C.
    
    
      2
      The orders of the court below denying relief to the appellants will be reversed and the cases remanded. The court below will be directed to vacate the judgments of sentence finally imposed upon the appellants under Section 4208 (b) and to proceed as the facts and the law may require.
    
    